    Case: 1:19-cv-07620 Document #: 31 Filed: 04/07/20 Page 1 of 2 PageID #:125



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

DEBRA FARLEY,                                )
                                             )
                       Plaintiff,            )
                                             )       Case No.: 1:19-cv-07620
               v.                            )
                                             )
COMCAST CORPORATION,                         )
and DOES 1-10,                               )
                                             )
                       Defendants.           )

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff Debra Farley (“Plaintiff”) and Defendants Comcast Corporation and Comcast

Cable Communications, LLC (“Defendants”), by and through their attorneys hereby stipulate to

dismissal of the above-captioned case with prejudice as to Plaintiff and without prejudice as to

any putative class member, pursuant to Federal Rule of Civil Procedure 41(a). Each party shall

bear its own costs and attorneys’ fees.


Dated: April 7, 2020


Debra Farley                                        Comcast Corporation and
                                                    Comcast Cable Communications, LLC

By her attorney,                                    By their attorney,

/s/ Bryan G. Lesser                                 /s/ Michael W. McTigue Jr.
Bryan G. Lesser                                     Michael W. McTigue Jr.
Edelman, Combs, Latturner & Goodwin, LLC            Akin Gump Strauss Hauer & Feld LLP
20 South Clark Street, Suite 1500                   Two Commerce Square
Chicago, IL 60603                                   2001 Market Street, Suite 4100
Tel.: (312) 739-4200                                Philadelphia, PA 19103
Email: blesser@edcombs.com                          Tel.: (215) 965-1265
                                                    Email: mmctigue@akingump.com
    Case: 1:19-cv-07620 Document #: 31 Filed: 04/07/20 Page 2 of 2 PageID #:126




                               CERTIFICATE OF SERVICE

        I, Bryan G. Lesser, hereby certify that on Tuesday, April 7, 2020, I caused a true and
accurate copy of the foregoing document to be filed via the courts CM/ECF online system, which
sent notice via email to all counsel of record.


                                                         /s/Bryan G. Lesser
                                                         Bryan G. Lesser

Daniel A. Edelman
Cathleen M. Combs
Tara L. Goodwin
Bryan G. Lesser
EDELMAN, COMBS, LATTURNER
       & GOODWIN, LLC
20 S. Clark Street, Suite1500
Chicago, Illinois 60603
(312) 739-4200
(312) 419-0379 (FAX)
E-mail for Service:
courtecl@edcombs.com
